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                                                               July 24, 2018

    By ECF

    The Honorable Paul S. Diamond
    United States District Judge
    Eastern District of Pennsylvania
    Philadelphia, PA 19106

                     Re:   Stein v. Cortes, No. 2:16-CV-6287-PD

    Your Honor:

                  We write on behalf of Plaintiffs to request an initial pretrial conference under
    Federal Rule of Civil Procedure 16(a).

                   As the Court is aware, the Complaint in this action was filed on December 5,
    2016, and the operative First Amended Complaint was filed on February 14, 2017. Defendants’
    motion to dismiss and Plaintiffs’ motion for summary judgment are pending.


                                                               Respectfully,

                                                               /s/

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    c.      All counsel of record (by ECF)
